Case 0:21-cv-61210-AHS Document 41 Entered on FLSD Docket 02/18/2022 Page 1 of 21




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

                         CASE NO.: 0:21-cv-61210-SINGHAL/VALLE

  JOHN G. BAJA, individually
  and on behalf of all others
  similarly-situated,

          Plaintiff,

  v.

  COSTCO WHOLESALE CORPORATION,

        Defendant.
  ____________________________________/

      PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS
           ACTION SETTLEMENT AND MEMORANDUM OF LAW IN SUPPORT

          Named Plaintiff, John G. Baja (“Baja” or “Named Plaintiff”), on behalf of himself and a
  putative Settlement Class (collectively, “Plaintiffs”), pursuant to Fed.R.Civ.P. 23, hereby moves
  this Court for an Order granting preliminary approval to the parties’ proposed Class Action
  Settlement Agreement and Release (the “Agreement” or “Settlement”); 1 preliminarily certifying
  the proposed Settlement Class for settlement purposes only; designating Named Plaintiff as the
  Class Representative and his attorneys as Class Counsel; approving the form and manner of the
  Notice of Settlement; authorizing the Settlement Administrator to disseminate the Notice of
  Settlement to the Settlement Class Members; setting a deadline for Settlement Class Members to
  opt out or object to the proposed Settlement; and scheduling a Final Approval Hearing no earlier
  than one hundred twenty (120) days after this Court’s Preliminary Approval Order.
          As explained further below, with the assistance of a highly respected ERISA and class
  action mediator, Named Plaintiff and Defendant Costco Wholesale Corporation (“Defendant”)
  (collectively the “Parties”) have reached a tentative class-wide resolution for which Named
  Plaintiff now seeks Court approval.      Specifically, the Settlement provides for Settlement


  1
    The Agreement is attached as Exhibit “B.” Certain defined terms contained herein shall have
  the same meaning as set forth in the Agreement.
Case 0:21-cv-61210-AHS Document 41 Entered on FLSD Docket 02/18/2022 Page 2 of 21




  Payments to be made to approximately 38,818 Settlement Class Members. The Settlement
  Administrator will create a non-reversionary Settlement Account, into which the Defendant will
  deposit a Gross Settlement amount of $750,000.00. The Settlement Class Members will not be
  required to take any action to receive a portion of the funds, making it a “claims paid”
  settlement. Importantly, no funds will revert to Defendant. Settlement Class Members are each
  entitled to pro rata gross amounts from the Settlement Account totaling approximately $19.32
  with net Settlement Payments of approximately $9.72. 2
         These amounts are consistent with class action settlements in cases involving similar
  allegations under the Consolidated Omnibus Budget Reconciliation Act of 1985 (“COBRA”)
  approved by other federal courts. See, e.g., Vazquez v. Marriott Int’l, Inc., No. 8:17-cv-00116-
  MSS-MAP (M.D. Fla. Feb. 27, 2020), ECF. No. 127) (court approved class action settlement
  with gross recovery of $13.00 per class member in case with allegedly deficient COBRA notice);
  Rigney v. Target Corp., No. 8:19-cv-01432-MSS-JSS (M.D. Fla. Mar. 24, 2021), ECF Nos. 58,
  59 (court approved class action settlement with gross recovery of $17.00 per class member in
  case with allegedly deficient COBRA notice); Hicks v. Lockheed Martin Corp, Inc., No. 8:19-cv-
  00261-JSM-TGW (M.D. Fla. Dec. 11, 2019) ECF No. 41 (court approved class action settlement
  with gross recovery of $24.00 per class member in case with allegedly deficient COBRA notice);
  Gilbert v. SunTrust Banks, Inc., No. 9:15-80415-Civ-Brannon (S.D. Fla. July 29, 2016), ECF No.
  80 (court approved class action settlement with gross recovery of $32.00 per class member in
  case with allegedly deficient COBRA notice).
         In sum, Named Plaintiff respectfully submits that the proposed Settlement is fair,
  reasonable, and adequate and asks that it be approved accordingly. The Settlement was reached
  through arm’s length negotiations conducted by experienced practitioners and with the assistance
  of a nationally respected class action mediator, Antonio Piazza, who has extensive experience
  mediating class action cases. In further support thereof, Named Plaintiff states the following:




  2
     Estimated net pro rata Settlement Payments to class members are calculated as follows:
  $750,000.00 Gross Settlement, less up to $250,000.00 (attorneys’ fees), less up to $14,473.20
  (litigation costs), less up to $10,000.00 (Named Plaintiff’s General Release Payment), less
  $98,097.00 (estimated settlement administration costs), equals $377,429.80 (the Net Settlement
  Proceeds), divided by 38,818 estimated Settlement Class Members, equals approximately $9.72
  (net Settlement Payment per Settlement Class Member).

                                                  2
Case 0:21-cv-61210-AHS Document 41 Entered on FLSD Docket 02/18/2022 Page 3 of 21




  I.     BACKGROUND AND OVERVIEW OF MOTION.
         A.      Allegations Included in Named Plaintiff’s Complaint.
         This is a putative class action brought by Named Plaintiff against Defendant under 29
  C.F.R. § 2590.606–4(b)(4) et seq. and 29 U.S.C. § 1166(a). The lawsuit generally alleges that
  Defendant provided Named Plaintiff and other members of his putative class with a deficient
  COBRA Notice. More specifically, Named Plaintiff asserts that Defendant’s COBRA Notice did
  not adequately inform him and the putative class how to exercise their rights to elect COBRA
  coverage because, in violation of 29 C.F.R. § 2590.606–4 et seq., Defendant’s Notice: (i)
  included inaccurate and misleading threats of criminal penalties and fines; (ii) was not written in
  a manner calculated to be understood by the average plan participant; and (iii) did not name and
  provide contact information for the plan administrator. As a result of the alleged violations in
  the Complaint, Named Plaintiff seeks statutory penalties, injunctive relief, attorneys’ fees, and
  costs, on behalf of himself and a putative class of all others similarly-situated.
         B.      Defendant’s Defenses.
         Had mediation been unsuccessful, Defendant had available to it myriad defenses to
  Named Plaintiff’s allegations. Defendant denied, and continues to deny, that it violated 29
  U.S.C. § 1166(a) and 29 C.F.R. § 2590.606-4 with regard to Named Plaintiff and/or any putative
  class member. In fact, as part of the Agreement, Defendant specifically denies that it engaged in
  any wrongdoing, does not admit or concede any actual or potential fault, wrongdoing or liability
  in connection with any facts or claims that have been alleged against it in this case, denies that
  the claims asserted by Named Plaintiff are suitable for class treatment other than for settlement
  purposes, and Defendant denies that it has any liability whatsoever. The Agreement and this
  Motion are not, and shall not, in any way be deemed to constitute an admission or evidence of
  any wrongdoing or liability on the part of Defendant, nor of any violation of any federal, state, or
  municipal statute, regulation, principle of common law or equity. However, Defendant agreed to
  resolve this action through settlement because of the substantial expense of litigation, the length
  of time necessary to resolve the issues presented in this case, the inconveniences involved, and
  the disruption to its business operations.
         C.      Procedural History of Case.
         By way of further procedural background, Named Plaintiff John Baja filed his original
  Complaint on June 9, 2021. (See Doc. 1). Defendant filed a potentially dispositive Motion to


                                                    3
Case 0:21-cv-61210-AHS Document 41 Entered on FLSD Docket 02/18/2022 Page 4 of 21




  Dismiss on July 21, 2021, raising a variety of arguments, including lack of Article III standing
  and failure to state a claim. (See Doc. 7). Before the Court ruled on Defendant’s Motion to
  Dismiss, Named Plaintiff filed a First Amended Complaint which, in turn, mooted the first
  Motion to Dismiss filed by Defendant. (See Docs. 14, 16).
         The Parties conferred and filed the required Joint Scheduling Report on August 12, 2021.
  (Doc. 22). The next day, the Court entered its Scheduling Order. (Doc. 23).
         Defendant filed a Motion to Dismiss the First Amended Complaint on August 18, 2021.
  (Doc. 24). On September 1, 2021, Named Plaintiff filed a comprehensive response in opposition
  to the Motion to Dismiss. (Doc. 25). Defendant filed its reply brief on September 8, 2021.
  (Doc. 27).
         In the interim, Named Plaintiff propounded on Defendant class-wide written discovery on
  Defendant and began the process of scheduling depositions.                Specifically, Named Plaintiff
  propounded on Defendant written discovery requests, a Fed.R.Civ.P. 30(b)(6) deposition notice,
  as well as notice of intent to serve a third-party subpoena.
         Shortly thereafter, on September 17, 2021, Defendant filed a Motion to Stay Discovery.
  (Doc. 28). Named Plaintiff filed his opposition on September 24, 2021. (Doc. 30). The Court
  denied Defendant’s Motion to Stay Discovery on September 27, 2021. (Doc. 31).
         Following the denial of Defendant’s Motion to Motion to Stay Discovery, counsel for
  both sides explored the possibility of an early class-wide resolution.            Based on discussion
  between counsel for both sides, the Parties then agreed an early class-wide mediation may be
  productive at this point to try and resolve this case on a class basis.
         As a result, on October 12, 2021, the Parties filed a Joint Motion to Stay these
  proceedings, including as to the Court’s ruling on Defendant’s pending Motion to Dismiss and as
  to the Parties’ respective discovery obligations, pending completion of mediation. The Court
  granted that Motion on October 13, 2021 (see Doc. 35), and the case was stayed.
         D.      Settlement Negotiations and Mediation.
         The Parties attended a mediation before a highly respected mediator, Antonio Piazza, on
  December 1, 2021. After extensive arm’s length negotiations—between experienced counsel for
  an entire day and into the evening—a tentative deal was reached. As a result of the agreement
  reached at mediation, the Parties agreed to enter into the Agreement, for which they now seek
  Court approval.


                                                     4
Case 0:21-cv-61210-AHS Document 41 Entered on FLSD Docket 02/18/2022 Page 5 of 21




         In sum, the Parties have agreed to fully and finally compromise, settle, and resolve all
  demands, claims, damages, and causes of action, present and future, arising from, related to, or
  based upon this litigation as to Named Plaintiff and all putative class members.
  II.    THE PROPOSED SETTLEMENT.
         A.        The Proposed Settlement Class.
         The Agreement defines the proposed Settlement Class as follows: “All participants and
  beneficiaries in the Costco Employee Benefits Program who were sent the COBRA Notice by or
  on behalf of Defendant at any time during the Class Period [i.e., between June 9, 2018 and June
  9, 2021] who did not elect COBRA.”
         B.        Benefits to the Settlement Class and Named Plaintiff.
         The Agreement, if approved, will resolve all claims of Named Plaintiff and all Settlement
  Class Members in exchange for Defendant’s agreement to pay $750,000.00 into the Settlement
  Account. This is a “claims paid” non-reversionary settlement. Every Settlement Class Member
  who does not timely opt out will receive a check for their respective Settlement Payment,
  without having to take any action, mailed to their last known address by the Settlement
  Administrator.
         From the Settlement Account will be deducted amounts for the costs of settlement
  administration, Class Counsel’s fees, and litigation costs, and any General Release Payment to
  Named Plaintiff, resulting in the “Net Settlement Proceeds,” which will be allocated among the
  approximately 38,818 Settlement Class Members equally on a pro rata basis. No funds revert to
  Defendant. Any funds that are unclaimed (which shall only arise if/when a check is mailed but
  then not timely cashed) shall revert to a mutually agreeable cy pres recipient. The Parties have
  selected Bay Area Legal Services, a 501(c)(3) non-profit legal aid organization, and will ask the
  Court to approve it as the cy pres recipient.
         The Parties negotiated the proposed Settlement on a common fund basis, meaning that
  the Parties’ settlement offers were inclusive of all attorneys’ fees and costs, incentive awards,
  and administrative expenses. The Parties did not negotiate attorneys’ fees until after agreeing on
  all terms related to the size of the common settlement fund and the class definition.
         With the Settlement Class comprised of approximately 38,818 members, each Settlement
  Class Member who does not opt out of the Settlement Class is entitled to a gross pro rata amount
  of the Settlement Account totaling approximately $19.32. If the requested amounts are granted


                                                   5
Case 0:21-cv-61210-AHS Document 41 Entered on FLSD Docket 02/18/2022 Page 6 of 21




  for attorneys’ fees and costs, administrative expenses, and Named Plaintiff’s General Release
  Payment, the parties anticipate that each Settlement Class Member will receive a pro rata
  Settlement Payment from the Net Settlement Proceeds of approximately $9.72, an amount
  consistent with settlements in many other large COBRA notice class action cases like this one.
         C.      Administration of Notice of Settlement.
         The Parties have agreed to utilize a private, third-party vendor, American Legal Claim
  Services, LLC, to administer the Settlement in this case, including but not limited to distribution
  of the Notice of Settlement. The Parties have also agreed that all fees and expenses charged by
  the Settlement Administrator shall be paid from the Settlement Account.
         Within ten (10) business days of the Court’s preliminary approval of the Agreement,
  Defendant shall provide to the Settlement Administrator a list of the full names and last known
  mailing addresses of each Settlement Class Member. Moreover, within ten (10) business days
  after receiving the list from Defendant, the Settlement Administrator shall mail the short form
  Notice of Settlement, (attached hereto as Exhibit C, and as Exhibit 1 to the Agreement), by first-
  class U.S. Mail to all Settlement Class Members. The short form Notice of Settlement shall
  apprise the Settlement Class Members of the existence of the Agreement and of the Settlement
  Class Members’ eligibility to recover their pro rata portion of the Net Settlement Proceeds and
  will include an explanation of the “claims paid” process, as well as an explanation as to what
  happens if the settlement checks are not timely cashed. Namely, the uncashed funds will be
  made part of a donation to a mutually-agreeable cy pres recipient.
         The Notice of Settlement also shall inform Settlement Class Members of: (1) the material
  terms of the Agreement; (2) their right to object and how to do so; (3) their right to exclude
  themselves by opting out and how to do so; (4) that they will be bound by the Agreement if they
  do not opt out; (5) the date, time and location of the Final Approval Hearing scheduled by the
  Court (to be held at least 120 days after the Court’s Order preliminarily approving the
  Settlement); and (6) that the Court retains the right to reschedule the Final Approval Hearing
  without further notice.
         The Notice of Settlement in this case is modeled after notices to class members approved
  by other federal courts in cases involving deficient COBRA notices, including in Rigney, et al. v.
  Target Corp., No. 8:19-cv-01432-MSS-JSS (M.D. Fla. July 14, 2020), ECF No. 49-4 and 49-4,
  52; see also Vazquez v. Marriott International, Inc., No. 8:17-cv-00116-MSS-MAP (M.D. Fla.


                                                  6
Case 0:21-cv-61210-AHS Document 41 Entered on FLSD Docket 02/18/2022 Page 7 of 21




  Feb. 27, 2020) ECF No. 127; Hicks v. Lockheed Martin Corp, Inc., 8:19-cv-00261-JSM-TGW
  (M.D. Fla. Sept. 3, 2019), ECF Nos. 33-3, 33-4, and 34; Carnegie v. FirstFleet Inc., No. 8:18-cv-
  01070-WFJ-CPT (M.D. Fla. Feb. 22, 2019) ECF Nos. 53-3, 55); Valdivieso v. Cushman &
  Wakefield, Inc., No. 8:17-cv-00118-SDM-JSS (M.D. Fla. April 4, 2018) ECF Nos. 88-2, 89.
         D.      Attorneys’ Fees and Costs and Named Plaintiff’s General Release Payment.
         Pursuant to the Agreement, Class Counsel is authorized to petition the Court for up to
  one-third of the Gross Settlement amount (i.e., up to $250.000.00) as attorneys’ fees, plus
  reasonable litigation costs (i.e., up to $14,473.20). Named Plaintiff will file a separate motion
  seeking approval for Class Counsel’s fees and costs at least fourteen (14) days prior to the
  Settlement Class Members’ deadline to opt out or object to the Settlement. Defendant does not
  oppose the amount of fees and costs sought by Class Counsel, as specified above.
         Additionally, Named Plaintiff, John G. Baja, is entitled to apply to the Court for a
  General Release Payment not to exceed $10,000. See Twardosky v. Waste Management, Inc., et
  al., M.D. Fla. Case No.: 8:19-cv-02467-CEH-TGW (approving $10,000 general release payment
  in class action).   Defendant does not oppose Named Plaintiff’s General Release Payment
  application. Named Plaintiff will include his request for his General Release Payment in his
  motion for Class Counsel’s fees and costs. Neither Settlement approval nor the size of the Gross
  Settlement amount are contingent upon Court approval of the full amount of Class Counsel’s
  requested fees and costs, or approval of Named Plaintiff’s General Release Payment.
         E.      Class Action Fairness Act Notice.
         Defendant will submit the notices required by the Class Action Fairness Act of 2005
  (“CAFA”) to the appropriate Federal and State officials.
  III.   MOTION  FOR  PRELIMINARY                       APPROVAL          AND      SUPPORTING
         MEMORANDUM OF LAW.

         A.      Applicable Legal Standard.

         This action was settled prior to certification.     A class may be certified “solely for
  purposes of settlement where a settlement is reached before a litigated determination of the class
  certification issue.” Woodward v. NOR–AM Chem. Co., 1996 WL 1063670 *14 (S.D.Ala.1996),
  citing In re Beef Indus. Antitrust Litig., 607 F.2d 167, 173–78 (5th Cir.1979), cert. denied, 452
  U.S. 905, 101 S.Ct. 3029, 69 L.Ed.2d 405 (1981). In Amchem Products, Inc. v. Windsor, 521
  U.S. 591, 620, 117 S.Ct. 2231, 138 L.Ed.2d 689 (1997), the Supreme Court held that because a

                                                  7
Case 0:21-cv-61210-AHS Document 41 Entered on FLSD Docket 02/18/2022 Page 8 of 21




  settlement class action obviates a trial, the district judge deciding whether to certify a settlement
  class action “need not inquire whether the case, if tried, would present intractable management
  problems,” under Rule 23(b)(3)(D).
            Regardless of whether a class is certified for settlement or for trial, the Court must find
  these prerequisites are met: “(1) the class is so numerous that joinder of all members is
  impracticable, (2) there are questions of law or fact common to the class, (3) the claims or
  defenses of the representative parties are typical of the claims or defenses of the class, and (4) the
  representative parties will fairly and adequately protect the interests of the class.” Fed.R.Civ.P.
  23(a). The proposed class must also meet the requirements of one of the three class types found
  in Rule 23(b). In this case, Named Plaintiff seeks to have this case certified pursuant to
  Fed.R.Civ.P. 23(a) and 23(b)(3).
            B.     The Requirements of Rule 23(a) are Met for Purposes of Approving the
                   Proposed Settlement.

            Rule 23(a) sets forth four prerequisites for class certification: numerosity, commonality,
  typicality, and adequacy of representation. See Fed. R. Civ. P. 23(a). Named Plaintiff has
  satisfied all four requirements under Rule 23(a) for purposes of approving the proposed
  Settlement.
                   1.      Numerosity.
            The proposed class of approximately 38,818 individuals is “so numerous that joinder of
  all members is impracticable.” FED. R. CIV. P. 23(a)(1). While Rule 23 does not specify an exact
  number necessary to satisfy numerosity, the Eleventh Circuit has indicated that having more than
  40 class members is generally enough to satisfy the rule.” Klewinowski v. MFP, Inc., No. 8:13-
  cv-1204-T-33TBM, 2013 U.S. Dist. LEXIS 130591, at *4 (M.D. Fla. Sept. 12, 2013) (citing Cox
  v. Am. Cast Iron Pipe Co., 784 F.2d 1546, 1553 (11th Cir. 1986)). Here, there are approximately
  38,818 members of the proposed Settlement Class. Thus, the numerosity standard is satisfied.
                   2.      Commonality.
            Next, Rule 23(a)(2) requires the existence of “questions of law or fact common to the
  class.”    Commonality is satisfied when the claims depend on a common contention, the
  resolution of which will bring a class-wide resolution of the claims. Wal-Mart Stores, Inc. v.
  Dukes, 564 U.S. 338, 349–50 (2011). “[T]his prerequisite does not mandate that all questions of
  law or fact be common; rather, a single common question of law or fact is sufficient to satisfy the


                                                     8
Case 0:21-cv-61210-AHS Document 41 Entered on FLSD Docket 02/18/2022 Page 9 of 21




  commonality requirement, as long as it affects all class members alike.” Klewinowski, 2013 U.S.
  Dist. LEXIS 130591, at *5-6 (internal quotations and citations omitted); see also Waters v.
  Cook’s Pest Control, Inc., 2012 U.S. Dist. LEXIS 99129, at *26-27 (N.D. Ala. July 17, 2012)
  (citing Williams v. Mohawk Indus., 568 F.3d 1350, 1355 (11th Cir. 2009)).
          In this case, common questions of law and fact exist among Named Plaintiff and the
  proposed Settlement Class Members for purposes of approving the Settlement.            All were
  participants in or beneficiaries of the Plan, were sent copies of Defendant’s allegedly deficient
  COBRA Notice, and did not elect COBRA continuation coverage following their receipt of that
  purportedly inadequate notice. Such common issues of law and fact have been found to satisfy
  commonality in similar COBRA cases. Morris v. US Foods, Inc., No. 8:20-CV-105-SDM-CPT,
  2021 WL 2954741, at *5 (M.D. Fla. May 17, 2021); Vazquez v. Marriott Int'l, Inc., No.
  817CV00116MSSMAP, 2018 WL 3860217, at *3 (M.D. Fla. Aug. 7, 2018) (certifying Rule 23
  class in COBRA notice case and finding commonality satisfied based on same factors); see also
  Pierce v. Visteon Corp., 2006 U.S. Dist. LEXIS 98847, at *12 (S.D. Ind. Sept. 14, 2006)
  (holding there was commonality where plaintiff challenged defendants’ COBRA notice practices
  “as applied to the entire class”).
          Additional common issues exist in this case, including: (1) whether Defendant violated
  COBRA’s notice requirements; (2) whether, and to what extent, statutory penalties are
  appropriate. Each Settlement Class Member received the allegedly inadequate COBRA Notice
  and, as such, would have an alleged claim for statutory penalties.          Named Plaintiff has
  established common questions of fact concerning whether the COBRA Notice complies with the
  law. Given that there are multiple questions of law and fact common to members the Settlement
  Class, the commonality requirement is satisfied for purposes of approving the Settlement.
                  3.      Typicality.
          The typicality requirement “tend[s] to merge” with the commonality requirement. Gen.
  Tel. Co. of the S.W. v. Falcon, 457 U.S. 147, 157 n.13 (1982). “A class representative must
  possess the same interest and suffer the same injury as the class members in order to be typical
  under Rule 23(a)(3). Typicality measures whether a sufficient nexus exists between the claims of
  the named representatives and those of the class at large.” Rosario-Guerro, 265 F.R.D. at 627
  (citing Busby v. JRHBW Realty, Inc., 513 F. 3d 1314, 1322 (11th Cir. 2008).



                                                 9
Case 0:21-cv-61210-AHS Document 41 Entered on FLSD Docket 02/18/2022 Page 10 of 21




             Here, Named Plaintiff is typical of the Settlement Class members he seeks to represent,
   as he received the same COBRA Notice as the Settlement Class Members and his claims stem
   from that COBRA Notice. Indeed, whether a COBRA Notice provides adequate information is
   not based on an individual's understanding of the COBRA Notice, but rather, an objective
   determination of whether the Notice complies with the letter of the statute. Rodriguez v. Int'l
   Coll. of Bus. and Tech., 364 F.Supp.2d 40, 46 (D.P.R. 2005) (“Neither a plaintiff's actual
   knowledge of his rights under COBRA nor his prior COBRA related job responsibility,
   dispenses with a plan administrator’s obligation to give the employee [proper] notification”)
   (citing Torres-Negron, et al. v. Ramallo Bros. Printing Inc., 203 F.Supp.2d 120, 124-125 (D.P.R.
   2002)).
             Thus, whether Defendant’s contested COBRA Notice complies with the law does not
   depend on Named Plaintiff’s personal characteristics but, rather, on whether the COBRA Notice
   is understandable by an average plan participant. 29 C.F.R. 2590.606-4(b)(4). This requirement
   has been interpreted as “an objective standard rather than requiring an inquiry into the subjective
   perception of the individual [plan] participants.” Wilson v. Sw. Bell Tel. Co., 55 F.3d 399, 407
   (8th Cir. 1995) (interpreting regulatory requirements for Summary Plan Descriptions, which are
   subject to an identical regulatory requirement to be written in a manner calculated to be
   understood by the average plan participant).
             In sum, Named Plaintiff’s claims are typical of all Settlement Class Members and their
   resolution does not depend on Named Plaintiff’s personal characteristics. Vazquez, 2018 WL
   3860217, at *4. Accordingly, Rule 23(a)(3) is also satisfied for purposes of approving the
   Settlement. See Pierce, 2006 U.S. Dist. LEXIS 98847, at *13 (typicality met where “[a]ll of the
   class claims stem from Defendants’ alleged failure to provide COBRA notices pursuant to the
   dictates of 29 U.S.C. § 1166, a common course of conduct, and are based upon the same legal
   theory”).
                    4.     Adequacy.
             The fourth requirement of Rule 23(a) is that “the representative parties will fairly and
   adequately protect the interests of the class.” FED. R. CIV. P. 23(a)(4). “This requirement
   ‘encompasses two separate inquiries: (1) whether any substantial conflicts of interest exist
   between the representatives and the class; and (2) whether the representatives will adequately
   prosecute the action.’” Battle v. Law Offices of Charles W. McKinnon, P.L., 2013 U.S. Dist.


                                                    10
Case 0:21-cv-61210-AHS Document 41 Entered on FLSD Docket 02/18/2022 Page 11 of 21




   LEXIS 29263, at *10 (S.D. Fla. Mar. 5, 2013) (citing Busby v. JRHBW Realty, Inc., 513 F.3d
   1314, 1323 (11th Cir. 2008)).
          In this case, Named Plaintiff—like each one of the Settlement Class Members—received
   the same allegedly deficient COBRA Notice from the same Defendant sometime between June 9,
   2018 and June 9, 2021. Thus, Named Plaintiff and the Settlement Class Members have the exact
   same interest in recovering the statutory damages to which they are allegedly entitled. As such,
   Named Plaintiff does not have any interests antagonistic to those of the proposed Settlement
   Class. Indeed, Named Plaintiff’s pursuit of this litigation is evidence of the same.
          Likewise, proposed Class Counsel—Brandon J. Hill and Luis A. Cabassa from Wenzel
   Fenton Cabassa, P.A., along with Marc Edelman from Morgan & Morgan, P.A.—have extensive
   experience litigating class actions of similar size, scope, and complexity to the instant action.
   They regularly engage in major complex litigation involving employment and consumer-related
   claims, including cases alleging deficient COBRA notices like this. Class Counsel has the
   resources necessary to conduct litigation of this nature and have been appointed lead class
   counsel by federal courts throughout the country in more deficient COBRA notices cases than
   any other firms. See generally Declarations of Luis A. Cabassa, Brandon J. Hill, and Marc
   Edelman.
          Further, proposed Class Counsel have devoted substantial resources to pursuing claims
   against Defendant for its allegedly unlawful COBRA Notice, including extensively litigating this
   matter, as described above, investigating Named Plaintiff’s and the Settlement Class’s claims,
   aggressively pursuing those claims through motion practice, conducting both formal and
   informal discovery (albeit much of it stayed pending settlement discussions and mediation),
   engaging in extensive settlement discussions, preparing for and attending mediation and,
   ultimately, negotiating the Settlement now before the Court.
          In sum, both the proposed Class Representative and Class Counsel have vigorously
   prosecuted this action and will continue to do so throughout its pendency. Accordingly, the
   adequacy requirement is also met for purposes of approving the Settlement.
          C.      The Requirements of Rule 23(b)(3) are Also Met.


          In addition to satisfying Rule 23(a), parties seeking class certification must show that the
   action is maintainable under Rule 23(b)(1), (2), or (3). Amchem, 521 U.S. at 623. Here, Named


                                                   11
Case 0:21-cv-61210-AHS Document 41 Entered on FLSD Docket 02/18/2022 Page 12 of 21




   Plaintiff seeks certification for the purposes of the Settlement under Rule 23(b)(3), which allows
   a class action to be maintained if: (1) questions of law or fact common to the class members
   predominate over any questions affecting only individual members; and (2) a class action is
   superior to other methods for fairly and efficiently adjudicating the controversy. Fed. R. Civ. P.
   23(b)(3) for purposes of approving the Settlement.
                  1.      Predominance.
          Rule 23(b)(3)’s predominance requirement focuses on whether the defendant’s liability is
   common enough to be resolved on a class basis, Dukes, 564 U.S. at 359, and whether the
   proposed class is “sufficiently cohesive to warrant adjudication by representation.” Amchem, 521
   U.S. at 623.
          In the present case, the common questions identified above predominate over any
   individualized issues. The central issues revolve around a standardized COBRA Notice that was
   common to all Settlement Class Members, whether that Notice complied with applicable
   statutory requirements and accompanying regulations, and whether Defendant should be required
   to pay statutory penalties for utilizing that allegedly deficient Notice.
          In similar cases involving COBRA notices, courts have found that common issues
   predominated. See, e.g., Hicks, No. 8:19-cv-261-JSM-TGW, Doc. 34 (M.D. Fla.) (finding the
   predominance requirement satisfied in COBRA notice case); Valdivieso, No. 8:17-cv-118-SDM-
   JSS, Doc. 89 (M.D. Fla.) (same); Morris v. US Foods, Inc., No. 8:20-CV-105-SDM-CPT, 2021
   WL 2954741, at *6 (M.D. Fla. May 17, 2021) (same); see also Vazquez, 2018 WL 3860217, at
   *6 (“the resolution of whether the COBRA Notice complied with the law, however, does not
   break into individualized inquiries; rather, it is an objective determination and central to the
   resolution of any claims of any purported class members. Thus, the question of individual class
   members’ motivations is irrelevant as to Defendant's liability for the allegedly inadequate
   COBRA notice.”).
          Because Defendant utilized a standardized COBRA Notice with respect to all members of
   the Settlement Class, Named Plaintiff’s claims “will prevail or fail in unison,” and as such,
   predominance is met for settlement purposes only. Amgen Inc., 568 U.S. at 460.
                  2.      Superiority.
          Finally, the class action device is also the superior means of adjudicating this controversy
   because it “achieve[s] economies of time, effort and expense and promote[s] . . . uniformity of


                                                     12
Case 0:21-cv-61210-AHS Document 41 Entered on FLSD Docket 02/18/2022 Page 13 of 21




   decision as to persons similarly situated.” Amchem, 521 U.S. at 615. Actions alleging a standard
   course of wrongful conduct are particularly well-suited for class certification because they
   facilitate efficiency and uniformity.
           Here, all questions necessary to determine whether—for Settlement purposes—
   Defendant violated COBRA (and its accompanying regulations) are common to all Settlement
   Class Members. As such, a class action is a much more efficient use of judicial and party
   resources than multiple actions. Further, absent a class action, members of the Settlement Class
   would almost certainly find the cost of individually litigating their claims to be prohibitive.
   Indeed, no other member of the proposed Settlement Class has brought any COBRA claims
   against Defendant, and thus, “there is no indication that any class member wants to individually
   control his or her own separate action.” Calloway v. Caraco Pharm. Labs., Ltd., 287 F.R.D. 402,
   408 (E.D. Mich. 2012). In fact, many members of the proposed Settlement Class may not even
   be aware that Defendant has allegedly violated their rights under ERISA/COBRA’s notice
   requirements. Where class members are unlikely to discover (and vindicate) injuries absent
   certification of a class, class treatment is superior to the alternatives.
           In the end, because common questions predominate and a class action is the superior
   method for adjudicating the controversy, maintenance of this action as a class action is
   appropriate for purposes of approving the Settlement.
           D.      Rule 23(e) Is Also Satisfied.


           After analyzing certification under Rule 23(a) and Rule 23(b)(3), when deciding whether
   to preliminary approval a class actions settlement, Courts in this Circuit also look to whether the
   proposed settlement satisfies Rule 23(e). Under Rule 23(e), Fed.R.Civ.P., “[a] class action shall
   not be dismissed or compromised without the approval of the court, and notice of the proposed
   dismissal or compromise shall be given to all members of the class in such manner as the court
   directs.” The Agreement satisfies the applicable standards for approval under Rule 23(e) and
   Eleventh Circuit case law.
           Rule 23(e) requires that a settlement agreement be “fair, reasonable, and adequate” before
   receiving approval. The following factors must be considered before determining whether that
   standard has been satisfied: (a) whether the class representatives and class counsel have
   adequately represented the class; (b) whether the agreement was negotiated at arm’s length; (c)


                                                      13
Case 0:21-cv-61210-AHS Document 41 Entered on FLSD Docket 02/18/2022 Page 14 of 21




   the adequacy of the relief provided for the class; and (d) whether the proposal “treats class
   members equitably relative to each other.” Fed. R. Civ. Proc. 23(e)(2)(A)-(D). Clearing these
   standards is not a high bar, given that “[p]ublic policy strongly favors the pretrial settlement of
   class action lawsuits.” In re U.S. Oil & Gas Litig., 967 F.2d 489, 493 (11th Cir. 1992). The Rule
   23(e) factors are satisfied here. Accordingly, Named Plaintiff respectfully requests this Court
   grant preliminary approval of the Agreement.
                  1.     The Class Representative and Class Counsel Have Adequately
                         Represented the Class.

          There is no question that Named Plaintiff and the undersigned have adequately
   represented the class. This first Rule 23(e)(2) requirement encompasses two separate inquiries:
   (1) whether any substantial conflicts of interest exist between the representatives and the class;
   and (2) whether the representatives will adequately prosecute the action. Battle v. Law Offices of
   Charles W. McKinnon, P.L., 2013 U.S. Dist. LEXIS 29263, at *10 (S.D. Fla. Mar. 5, 2013)
   (citing Busby v. JRHBW Realty, Inc., 513 F.3d 1314, 1323 (11th Cir. 2008).
          Here, the adequacy-of-representation requirement has been met. Named Plaintiff, John
   Baja, is adequate given that his interests are equivalent to those of the Settlement Class. There
   is also no obvious conflict of interest between Named Plaintiff and the Settlement Class. Named
   Plaintiff has the same interest as the Settlement Class members in prosecuting his claims. He,
   along with Class Counsel, secured a high six-figure settlement from a highly sophisticated
   Defendant in favor of the class members he seeks to represent.
          With respect to Class Counsel, as demonstrated in the attached declarations, the proposed
   attorneys have extensive class action experience, and have been appointed as class counsel in
   many class action cases, including the following recent COBRA class action cases: Hicks v.
   Lockheed Martin Corp, Inc., 8:19-cv-00261-JSM-TGW (M.D. Fla. Sept. 5, 2018) (Doc. 34);
   Valdivieso v. Cushman & Wakefield, Inc., M.D. Fla. Case No.: 8:17-cv-00118-SDM-JSS (M.D.
   Fla. Dec. 7, 2018) (Doc. 92) (appointing undersigned as class counsel in a COBRA notice class
   action), and Carnegie v. FirstFleet Inc., M.D. Fla. Case No.: 8:18-cv-01070-WFJ-CPT (M.D.
   Fla. June 21, 2019) (Doc. 63) (same).
          When, as here, the Parties are represented by counsel who have significant experience in
   class-action litigation and settlements and in ERISA cases, and no evidence of collusion or bad
   faith exists, the judgment of the litigants and their counsel concerning the adequacy of the


                                                   14
Case 0:21-cv-61210-AHS Document 41 Entered on FLSD Docket 02/18/2022 Page 15 of 21




   settlement is entitled to deference. Thacker v. Chesapeake Appalachia, L.L.C., 695 F. Supp. 2d
   521, 532-33 (E.D. Ky. 2010) aff'd sub nom. Poplar Creek Dev. Co. v. Chesapeake Appalachia,
   L.L.C., 636 F.3d 235 (6th Cir. 2011). Thus, the proposed settlement satisfies Rule 23(e)(2)’s
   first component, adequacy.
                  2.      The Settlement Is the Product of Arm’s Length Negotiations Between
                          Experienced Counsel Before a Neutral Mediator.

          The next Rule 23(e)(2) factor is also satisfied because the proposed Settlement is the
   product of arm’s length negotiations that were overseen by an experienced and impartial
   mediator who was selected and appointed by the Court. (Doc. 28). This also weighs in favor of
   approval. See Perez v. Asurion Corp., 501 F. Supp. 2d 1360, 1384 (S.D. Fla. 2007) (concluding
   that class settlement was not collusive in part because it was overseen by “an experienced and
   well-respected mediator”).
          The proposed Settlement, and the record in this case, show that the Agreement was the
   product of extensive and detailed arm’s length negotiations between the Parties and their
   counsel. The Parties participated in mediation with Antonio Piazza during an all-day mediation
   at great expense to both sides—and with no promise Class Counsel would recover anything at
   all. The Parties and counsel were well-informed of the potential strengths and weaknesses of
   their positions and conducted good faith negotiations to avoid costly and protracted litigation.
   Attorneys’ fees were not discussed until the class members’ recovery was decided upon.
          Moreover, as stated above, all counsel involved in the negotiations are experienced in
   handling class action litigation and complex litigation and are clearly capable of assessing the
   strengths and weaknesses of their respective positions. See generally Declarations of Luis A.
   Cabassa and Brandon J. Hill; see also Pierre-Val, 2015 U.S. Dist. LEXIS at *2 (“courts should
   give weight to the parties’ consensual decision to settle class action cases, because they and their
   counsel are in unique positions to assess the potential risks”). Where there “is no evidence of
   any kind that the parties or their counsel have colluded or otherwise acted in bad faith in arriving
   at the terms of the proposed settlement … counsel’s informed recommendation of the agreement
   is persuasive that approval is appropriate.” Strube v. American Equity Inv. Life Ins. Co., 226
   F.R.D. 696, 703 (M.D. Fla. 2005).




                                                   15
Case 0:21-cv-61210-AHS Document 41 Entered on FLSD Docket 02/18/2022 Page 16 of 21




                  3.      The Settlement Provides Adequate Relief to Class Members.
          As detailed above, the Settlement will provide substantial relief to Settlement Class
   Members, satisfying the third Rule 23(e)(2) factor. The Settlement requires Defendant to pay
   $750,000 into a Settlement Account to resolve the claims at issue. This represents a gross
   recovery of approximately $19.32 per Settlement Class member ($750,000 ÷ 38,818 persons =
   $19.32) and a net recovery of approximately $9.72 (see note 2 supra). This recovery falls well
   within the range of reasonableness for settlement purposes. See e.g., Vazquez v. Marriott
   International, Inc., M.D. Fla. Case No. 8:17-cv-00116-MSS-MAP (Feb. 27, 2020, Doc. 127)
   (Judge Scriven approved gross recovery of $13.00 per class member in 20,000 settlement class);
   Gilbert v. SunTrust Banks, Inc., Case No. 9:15-80415-Civ-Brannon (S.D. Fla. July 29, 2016)
   (court approved settlement COBRA notice case in which each class member’s gross recovery
   was $32 and net of $11); Hicks v. Lockheed Martin Corp, Inc., 8:19-cv-00261-JSM-TGW (M.D.
   Fla. Sept. 5, 2018) (court approved settlement in COBRA notice case in which each class
   member’s gross recovery was $24 and net of $13). All Settlement Class members who do not
   opt out will share in the recovery, as they do not need to file a claim form to receive a settlement
   payment.
          As set forth above, continuing the litigation would have been complicated, protracted,
   and expensive. The risk of Named Plaintiff being unable to establish liability and damages was
   also present because of the numerous defenses asserted by Defendant. Because this case settled
   not long after filing, Named Plaintiff had yet to survive class certification, summary judgment,
   and trial. Each of these phases of litigation presented serious risks, which the settlement allows
   Named Plaintiff and the Settlement Class to avoid. See, e.g. In re Painewebber Ltd. P’ships
   Litig., 171 F.R.D. 104, 126 (S.D.N.Y. 1997) (“Litigation inherently involves risks.”). Courts
   reviewing the issue of fairness have also favored settlements that allow even partial recovery for
   class members where the results of suits are uncertain. Murray v. GMAC Mortg. Corp., 434 F.3d
   948, 952 (7th Cir. 2006) (“Risk that the class will lose should the suit go to judgment on the
   merits justifies a compromise that affords a lower award with certainty.”); see also In re Mexico
   Money Transfer Litigation, 267 F.3d 743 (7th Cir. 2001).
          The Gross Settlement amount in this Settlement is in line with per class member
   settlement amounts in similar cases.      Under the Parties’ Agreement, the Settlement Class
   Members can quickly realize a portion of their possible statutory damage claims from the


                                                   16
Case 0:21-cv-61210-AHS Document 41 Entered on FLSD Docket 02/18/2022 Page 17 of 21




   Settlement Account, even if the amount is less than what could have been recovered through
   successful litigation. Likewise, Defendant caps its exposure at less than the amounts it could
   owe to each Settlement Class Member if it were to lose at trial, in addition to avoiding protracted
   litigation and a trial which would involve significant time and expense for all Parties. Named
   Plaintiff supports the Settlement. Class Counsel believes that the bulk of the other Settlement
   Class Members will have a favorable reaction to the Settlement and not object to it once they
   have been advised of the settlement terms through a Court-approved certification and Notice of
   Settlement.
                     4.   The Proposal Treats Class Members Equitably Relative to Each
                          Other.

          The last Rule 23(e)(2) factor is satisfied because the proposed Settlement treats
   Settlement Class Members equitably. In fact, they are treated identically. As set forth above,
   with the Settlement Class comprised of approximately 38,818 members, each Settlement Class
   Member who does not opt out of the Settlement will receive a gross settlement payment of
   approximately $19.32 and a net payment of $9.72. This a “claims paid” settlement. All class
   members do not have to submit claim forms to receive a share of the settlement proceeds.
   Rather, all Settlement Class members who do not opt out will simply receive checks after final
   approval. If settlement checks are not cashed, the Agreement provides for a donation to a cy
   pres recipient.
                     5.   Additional Considerations.
          In terms of the likelihood of success at trial, if Named Plaintiff had chosen to continue to
   litigate his claims, a successful outcome was not guaranteed. As discussed herein, Named
   Plaintiff faced significant risks with respect to liability, damages, and certification of a litigation
   class. With respect to liability, important issues remained to be decided upon the evidence
   presented. Defendant’s motion to dismiss the litigation in its entirety has not been decided, and
   the Court did not have before it (and therefore did not consider) arguments Defendant would
   have raised at summary judgment. Named Plaintiff would have faced risks on class certification
   as well. In certain cases involving allegedly deficient COBRA notices, class certification has
   been denied. See, e.g., Brown-Pfifer v. St. Vincent Health, Inc., 2007 U.S. Dist. LEXIS 69930, at
   *26 (S.D. Ind. Sept. 20, 2007); Kane v. United Indep. Union Welfare Fund, 1998 U.S. Dist.
   LEXIS, at *19 (E.D. Pa. Feb. 24, 1998). Thus, it was not guaranteed that the Court would have


                                                     17
Case 0:21-cv-61210-AHS Document 41 Entered on FLSD Docket 02/18/2022 Page 18 of 21




   certified a class. To avoid the foregoing risks, it was reasonable for Named Plaintiff to settle the
   case at this juncture to ensure class-wide monetary and prospective relief for members of the
   Settlement Class. See Bennett v. Behring Corp., 76 F.R.D. 343, 349-50 (S.D. Fla. 1982) (stating
   that it would have been “unwise [for plaintiffs] to risk the substantial benefits which the
   settlement confers … to the vagaries of a trial”), aff’d, 737 F.2d 982 (11th Cir. 1984).
          Additionally, with respect to the range of possible recovery, the pertinent regulations
   provide for a maximum statutory penalty of $110 per day, but no minimum penalty. See 29
   C.F.R. § 2575.502c-1. Whether or not to award statutory penalties is left completely within the
   discretion of the court. See Scott v. Suncoast Beverage Sales, Ltd., 295 F.3d 1223, 1232 (11th
   Cir. 2002). In other words, even if Named Plaintiff was able to prove that Defendant violated the
   COBRA or its accompanying regulations, Named Plaintiff and Settlement Class Members may
   have recovered only nominal damages, or even nothing at all.
                  6.      The Settlement Will Avoid a Complex, Expensive, and Prolonged
                          Legal Battle Between the Parties.

          Aside from the risks of litigation, continuing the litigation would have resulted in
   complex, costly, and lengthy proceedings before this Court and likely the Eleventh Circuit,
   which would have significantly delayed relief to Settlement Class Members (at best), and might
   have resulted in no relief at all. In the absence of a settlement or a full grant of Defendant’s
   motion to dismiss, Named Plaintiff would have had to take depositions, appear for his own
   deposition, engage in class certification motion practice, engage in summary judgment motion
   practice, prepare for trial, and present his case at a trial on the merits. The costs associated with
   these litigation activities would have been significant. Moreover, even if Named Plaintiff had
   won certification of a class and litigated the class claims to a successful conclusion, it is likely
   that Defendant would have appealed any judgment entered against it, resulting in further expense
   and delay.
          Complex litigation such as this “can occupy a court’s docket for years on end, depleting
   the resources of the parties and taxpayers while rendering meaningful relief increasingly
   elusive.” In re U.S. Oil & Gas Litig., 967 F.2d at 493. By entering into a settlement now, Named
   Plaintiff saved precious time and costs, and avoided the risks associated with further litigation.




                                                    18
Case 0:21-cv-61210-AHS Document 41 Entered on FLSD Docket 02/18/2022 Page 19 of 21




   IV.     THE COURT SHOULD APPROVE THE NOTICE TO SETTLEMENT CLASS
           MEMBERS.

           In addition to reviewing the substance of the Parties’ Agreement, the Court must ensure
   that notice is sent in a reasonable manner to all Settlement Class Members who would be bound
   by the proposed settlement. Fed. R. Civ. P. 23(e)(1). The “best notice” practicable under the
   circumstances includes individual notice to all potential class members who can be identified
   through reasonable effort. Fed. R. Civ. P. 23(c)(2)(B). That is precisely the type of notice
   contemplated here.
           Under the Settlement, each member of the Settlement Class will be sent a short form
   Notice of Settlement (see Exhibit C) via first-class U.S. Mail, informing them of the terms of the
   Settlement and their right to opt out or object. The short form Notice of Settlement will direct
   the Settlement Class Members to the Settlement Administrator’s website where additional
   information will be provided. The content of the long form Notice of Settlement (see Exhibit D),
   which will be available on the website, is also reasonable and appropriate.               Under Rule
   23(c)(2)(B), the notice must clearly and concisely state: (i) the nature of the action; (ii) the
   definition of the class certified; (iii) the class claims, issues, or defenses; (iv) that a class member
   may enter an appearance through an attorney if the member so desires; (v) that the court will
   exclude from the class any member who requests exclusion; (vi) the time and manner for
   requesting exclusion; and (vii) the binding effect of a class judgment on members under Rule
   23(c)(3).
           The proposed short and long forms of the Notice of Settlement include all such
   information. In addition, the Notice of Settlement clearly spells out the terms of the proposed
   Settlement, provides a website address where class members can obtain a copy of the Agreement
   and other relevant documents, and includes a phone number that class members may call if they
   have any questions. Accordingly, this Court should approve both the short and long forms of the
   Notice of Settlement, as both the contents of the notices and the methods of dissemination are
   reasonable.
   V.      CONCLUSION.
           Based on the foregoing reasons, this Honorable Court should grant this Motion and enter
   an Order granting preliminary approval of the Parties’ class action settlement.




                                                     19
Case 0:21-cv-61210-AHS Document 41 Entered on FLSD Docket 02/18/2022 Page 20 of 21




          WHEREFORE, Named Plaintiff hereby moves for this Court’s preliminary approval of
   the Parties’ class action Settlement; preliminarily certifying the proposed Settlement Class;
   designating Named Plaintiff as the settlement Class Representative and his attorneys as Class
   Counsel; approving the form and manner of class notice; authorizing the Settlement
   Administrator to disseminate the Notice of Settlement to the Settlement Class Members; setting a
   deadline to opt out or object and scheduling a final approval hearing no earlier than one hundred
   twenty (120) days after this Court’s Preliminary Approval Order. A proposed Order is attached
   as Exhibit A.
          Dated this 18th day of February, 2022.

                                               Respectfully submitted,

                                               /s/ Brandon J. Hill
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                                               Proposed Class Counsel and Attorneys for Named
                                               Plaintiff




                                                   20
Case 0:21-cv-61210-AHS Document 41 Entered on FLSD Docket 02/18/2022 Page 21 of 21




                                  CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing document has been

   forwarded to counsel of record for all parties via the Court’s CM/ECF filing system on this 18th

   day of February, 2022.


                                               /s/ Brandon J. Hill
                                               BRANDON J. HILL




                                                 21
